               Case 2:18-cv-00400-JHS Document 9 Filed 05/03/18 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA


    HENRY RUBY,                                )    CASE NO. 2:18-cv-00400-JHS
                                               )
               Plaintiff,                      )    JUDGE JOEL H. SLOMSKY
                                               )
    vs.                                        )
                                               )
    DISH NETWORK L.L.C.,                       )
                                               )
               Defendant                       )

               MOTION FOR ADMISSION PRO HAC VICE OF LAURA E. KOGAN

          Attorney Laura E. Kogan for Defendant DISH Network L.L.C. (“DISH”) respectfully

moves for admission pro hac vice – in accordance with Judge Slomsky’s Scheduling And Motion

Policies And Procedures 1 – and in support represents as follows:

          1.        Admissions: State of Ohio; USDC, Northern District of Ohio; US Court of

Appeals, Fifth Circuit; and US Court of Appeals, Fourth Circuit.

          2.        For over four years, Ms. Kogan has represented DISH in lawsuits involving the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”). In the instant lawsuit,

Plaintiff’s single cause of action alleges that DISH violated the TCPA. (See Plaintiff’s Complaint,

¶ 1.) Ms. Kogan is qualified to act as pro hac vice counsel based upon his legal skills and depth

of TCPA knowledge. DISH desires that Ms. Kogan act as pro hac vice counsel because of Ms.

Kogan’s TCPA knowledge particularly as it relates to the instant lawsuit.




1
  “Counsel moving for the pro hac vice admission of an attorney must file a motion setting forth
in detail the attorney’s admissions, the reason why the party desires the attorney to participate and
why the attorney is especially qualified to do so.” (Page 4, Subsection E.)
Case 2:18-cv-00400-JHS Document 9 Filed 05/03/18 Page 2 of 3




                                 /s/ Jennifer R. Hoover
                                 Jennifer R. Hoover (Pa. I.D. No. 87910)
                                 BENESCH, FRIEDLANDER, COPLAN
                                     & ARONOFF LLP
                                 One Liberty Place
                                 1650 Market Street, 36th Floor
                                 Philadelphia, PA 19103
                                 Telephone: 267-207-2947
                                 Facsimile:      267-207-2949
                                 Email:          jhoover@beneschlaw.com

                                 Eric Larson Zalud (Pro Hac Vice)
                                 BENESCH, FRIEDLANDER, COPLAN
                                    & ARONOFF LLP
                                 200 Public Square, Suite 2300
                                 Cleveland, OH 44114
                                 Telephone: 216-363-4500
                                 Facsimile:    216-363-4588
                                 Email:        ezalud@beneschlaw.com

                                 Attorneys for Defendant DISH Network L.L.C.




                             2
          Case 2:18-cv-00400-JHS Document 9 Filed 05/03/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 3, 2018, a copy of the foregoing MOTION FOR ADMISSION

PRO HAC VICE OF LAURA E. KOGAN was filed electronically. Notice of this filing will be

sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. Parties may access this filing through the Court’s system.



                                                  /s/ Jennifer R. Hoover
                                                  Jennifer R. Hoover
                                                  Attorney for Defendant DISH Network L.L.C.




                                                 3
                                                                                          11103570 v1
